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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:20−cr−00080
                                                         Honorable Thomas M. Durkin
Carter Brett
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 14, 2023:


       MINUTE entry before the Honorable Thomas M. Durkin: as to Carter Brett.
Sentencing held on 6/14/2023. Judgment order to follow. Mailed notice. (ecw, )




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